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 5                            UNITED STATES DISTRICT COURT
                        for the WESTERN DISTRICT of WASHINGTON
 6

 7    UNITED STATES OF AMERICA,                        )
                                                       )
 8                                Plaintiff,           )
 9                         vs.                         )
                                                       )                06-572M
10
      HONG VAN NGUYEN,                                 )
11                                                     )
                                  Defendant.           )             MINUTE ORDER
12
            The following Minute Order is made at the direction of the Court, the Honorable
13
     James P. Donohue, United States Magistrate Judge:
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15
            The parties stipulated that the detention in this matter should be governed by the
16
     Detention Order (dkt #40), issued by the Honorable Monica J. Benton, United States Magistrate
17
     Judge, in USA vs Nguyen, CR06-307 RSM, in which the defendant was ordered detained.
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23                                 Dated this 3rd day of November , 2006
24

25                                 /S/ PETER H. VOELKER
                                    Deputy Clerk
26   MINUTE ORDER
